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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

In re:                                         :
                                               :
     David L Baucom                            :      Case No.: 19-11123
     Regina K Baucom                           :      Chapter 7
                                               :      Judge Beth A. Buchanan
         Debtor(s).                            :      ***********************
                                               :
                                               :

     MOTION OF NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER FOR RELIEF
     FROM STAY ON FIRST MORTGAGE FOR REAL PROPERTY LOCATED AT 6592
                     STATE ROUTE 48, GOSHEN, OH 45122

         Nationstar Mortgage LLC d/b/a Mr. Cooper (the "Creditor") moves this Court, under §§

361, 362, 363 and other sections of the Bankruptcy Reform Act of 1978, as amended (the

"Bankruptcy Code") and under Rules 4001 and other rules of the Federal Rules of Bankruptcy

Procedure (the "Bankruptcy Rules") for an Order conditioning, modifying or dissolving the

automatic stay imposed by § 362 of the Bankruptcy Code. In support of this Motion, the

Creditor states:


                                  MEMORANDUM IN SUPPORT

1.       The Court has jurisdiction over this matter under 28 U.S.C. § 157 and 1334. This is a

         core proceeding under 28 U.S.C. § 157(b)(2). The venue of this case and this Motion is

         proper under 28 U.S.C. §§ 1408 and 1409.

2.       On April 8, 2014, Regina K Baucom obtained a loan from Pacific Union Financial, LLC,

         A California Limited Liability Company in the amount of $152,938.00. Such loan was

         evidenced by a Promissory Note dated April 8, 2014 (the "Note"), a copy of which is

         attached as Exhibit A.


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3.    To secure payment of the Note and performance of the other terms contained in it, David

      Baucom and Regina K Baucom (collectively ''Debtor'') executed a Open-End Mortgage

      dated April 8, 2014 (the "Mortgage"). The Mortgage granted a lien on the property

      owned by Debtor, located at 6592 State Route 48, Goshen, OH 45122 (the "Property")

      and more fully described in the Mortgage. Regina K. Baucom acquired title by virtue of

      a General Warranty Deed from Zachary C. Osborn, dated April 8, 2014, filed April 10,

      2014, recorded at Official Instrument Number 201400006635, Recorder's Office,

      Clermont County, Ohio. A copy of said Deed is attached as Exhibit B.

4.    The lien created by the Mortgage was duly perfected by the filing of the Mortgage in the

      office of the Clermont County Recorder on April 10, 2014. A copy of the Mortgage is

      attached as Exhibit C. The lien is the first lien on the Property.

5.    The Note was transferred as follows:

      a.     from Pacific Union Financial, LLC to Nationstar Mortgage, LLC. The transfer is
             evidenced by the Certificate of Merger attached to the Motion as Exhibit D.

6.    The Mortgage was transferred as follows:

      a.     from Mortgage Electronic Registration Systems, Inc., Solely as Nominee for
             Pacific Union Financial, LLC, its Successors and Assigns to Pacific Union
             Financial, LLC, dated July 29, 2016. The transfer is evidenced by the document
             attached to this Motion as Exhibit E.

      b.     from Pacific Union Financial, LLC to Nationstar Mortgage, LLC. The transfer is
             evidenced by the Certificate of Merger attached to the Motion as Exhibit D.

7.    Attached are redacted copies of any documents that support the claim, such as promissory

      notes, purchase order, invoices, itemized statements of running accounts, contracts,

      judgments, mortgages, and security agreements in support of right to seek a lift of the

      automatic stay and foreclose if necessary.




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8.     The value of the Property is $124,100.00. This valuation is based on Debtor's Schedule A

       which is attached as Exhibit F.

9.     As of April 8, 2019, there is currently due and owing on the Note the principal balance of

       $145,389.02, plus interest accruing thereon at the rate of 5% per annum from July 1,

       2017.

10.    Other parties known to have an interest in the Property are as follows:

       a.      the Clermont County Treasurer;

11.    The balance on Creditor’s first mortgage exceeds the value of the Property. Based upon

       the lack of equity in the Property, Creditor asserts that the Property is burdensome and/or

       of inconsequential value and benefit to the estate.

12.    The Creditor is entitled to relief from the automatic stay under 11 U.S.C. § 362(d)(1)

       and/or 362(d)(2) for these reason(s):

       a.      Debtor/Obligor has failed to provide adequate protection for the lien held by the
               Creditor for the reasons set forth below.

       b.      Debtor has failed to make periodic payments or had made partial payments to
               Creditor for the months of August 2017 through April 2019 which unpaid
               payments less any funds being held in suspense are in the aggregate amount of
               $25,419.03 through April 8, 2019. The total provided in this paragraph cannot be
               relied upon as a reinstatement quotation.

       c.      Debtor intends to surrender the Property located at 6592 State Route 48, Goshen,
               Ohio 45122 according to the Statement of Intent filed.

13.    Creditor has completed the worksheet attached as Exhibit G.

14.    This Motion does not seek to affect the rights of the Chapter 7 Trustee.

       WHEREFORE, Creditor prays for an Order from the Court granting Creditor relief from

the automatic stay of 11 U.S.C. § 362 of the Bankruptcy Code to permit Creditor to proceed

under law and for such other and further relief to which the Creditor may be entitled.

                                                     Respectfully submitted,

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                                              /s/ Adam B. Hall
                                            Adam B. Hall (0088234)
                                            Edward H. Cahill (0088985)
                                            John R. Cummins (0036811)
                                            Stephen R. Franks (0075345)
                                            Manley Deas Kochalski LLC
                                            P.O. Box 165028
                                            Columbus, OH 43216-5028
                                            Telephone: 614-220-5611
                                            Fax: 614-627-8181
                                            Attorneys for Creditor
                                            The case attorney for this file is Adam B.
                                            Hall.
                                            Contact email is abh@manleydeas.com




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                                    NOTICE OF MOTION

Nationstar Mortgage LLC d/b/a Mr. Cooper has filed papers with the court to obtain relief from
stay.

Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

If you do not want the court to grant the relief sought in the motion, then on or before twenty-
one (21) days from the date set forth in the certificate of service for the motion, you must
file with the court a response explaining your position by mailing your response by regular U.S.
Mail to:

                           Clerk of the United States Bankruptcy Court
                                      Atrium Two, Suite 800
                                      221 East Fourth Street
                                      Cincinnati, OH 45202

OR your attorney must file a response using the court's ECF system.

The court must receive your response on or before the above date.

You must also send a copy of your response either by 1) the court's ECF System or by 2) regular
U.S. Mail to:

   Manley Deas Kochalski LLC, Attention: Adam B. Hall, P.O. Box 165028 Columbus, OH
   43216-5028

   Office of U.S. Trustee, Southern District of Ohio, Party of Interest, 36 East Seventh Street,
   Suite 2030, Cincinnati, OH 45202

   George Leicht, PO Box 602, Batavia, OH 45103-0602
   gleicht@fuse.net

   John W Rose, Attorney for David L Baucom and Regina K Baucom, 35 East Seventh Street,
   Suite 610, Cincinnati, OH 45202-2403
   johnwrose@fuse.net

   David L Baucom and Regina K Baucom, P.O. Box 92, Goshen, OH 45122

   Clermont County Treasurer, 101 East Main Street, Batavia, OH 45103

If you or your attorney do not take these steps, the court may decide that you do not oppose the
relief sought in the motion and may enter an order granting that relief without further hearing or
notice.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Motion for Relief from Stay on First

Mortgage for Real Property Located at 6592 State Route 48, Goshen, Ohio 45122 was served

electronically on the date of filing through the court's ECF System on all ECF participants

registered in this case at the email address registered with the court:

   Office of U.S. Trustee, Southern District of Ohio, Party of Interest, 36 East Seventh Street,
   Suite 2030, Cincinnati, OH 45202

   George Leicht, PO Box 602, Batavia, OH 45103-0602, gleicht@fuse.net

   John W Rose, Attorney for David L Baucom and Regina K Baucom, 35 East Seventh Street,
   Suite 610, Cincinnati, OH 45202-2403, johnwrose@fuse.net

                                   17 2019 addressed to:
and by ordinary U.S. mail on April ___,

   David L Baucom and Regina K Baucom, P.O. Box 92, Goshen, OH 45122

   David L Baucom and Regina K Baucom, 6592 State Route 48, Goshen, OH 45122

   Clermont County Treasurer, 101 East Main Street, Batavia, OH 45103


                                                           /s/ Adam B. Hall




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